 Case 8:23-ap-01046-SC          Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02        Desc
                                 Main Document    Page 1 of 7



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 7 Proposed Special Counsel to Richard A. Marshack

 8

 9                              UNITED STATES BANKRUPTCY COURT
10               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
11

12 In re:                                            Case No.: 8:23-bk-10571-SC

13 THE LITIGATION PRACTICE GROUP P.C.,               Adv. Proc. No. 8:23-ap-01046-SC

14          Debtor.                                  Chapter 11

15                                                   PROOF OF SERVICE
   RICHARD A. MARSHACK,
16 Chapter 11 Trustee,

17                       Plaintiff,
18                         v.
19 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,
20 an individual; LISA COHEN, an individual;
   WILLIAM TAYLOR CARSS, an individual;
21 ENG TANG, an individual; MARIA EEYA TAN,
   an individual; JAKE AKERS, an individual; HAN
22 TRINH, an individual; JAYDE TRINH, an
   individual; WES THOMAS, an individual;
23 SCOTT JAMES EADIE, an individual; JIMMY
   CHHOR, an individual; DONGLIANG JIANG,
24 an individual; OAKSTONE LAW GROUP PC;
   GREYSON LAW CENTER PC; PHOENIX
25 LAW GROUP, INC.; MAVERICK
   MANAGEMENT, LLC; LGS HOLDCO, LLC;
26 CONSUMER LEGAL GROUP, P.C.; VULCAN
   CONSULTING GROUP LLC; B.A.T. INC. d/b/a
27 COAST PROCESSING; PRIME LOGIX, LLC;
   TERACEL BLOCKCHAIN FUND II LLC;
28 EPPS; EQUIPAY; AUTHORIZE.NET; WORLD
   GLOBAL; OPTIMUMBANK HOLDINGS, INC.
Case 8:23-ap-01046-SC   Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02   Desc
                         Main Document    Page 2 of 7



 1 d/b/a OPTIMUM BANK; MARICH BEIN, LLC;
   BANKUNITED, N.A.; REVOLV3, INC.;
 2 FIDELITY NATIONAL INFORMATION
   SERVICES, INC. d/b/a FIS; WORLDPAY, INC.;
 3 WORLDPAY GROUP; MERIT FUND, LLC;
   GUARDIAN PROCESSING, LLC; THE
 4 UNITED STATES POSTAL SERVICE; and
   DOES 1 through 100, inclusive,
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                       Defendants.
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        Case 8:23-ap-01046-SC               Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02                                        Desc
                                             Main Document    Page 3 of 7


                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy (1) of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE
IN ADVERSARY PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:

ORDER RE: RULE 26(f) MEETING, INITIAL DISCLOSURE, AND SCHEDULING CONFERENCE

COMPLAINT FOR: (1) INJUNCTIVE RELIEF; (2) AVOIDANCE, RECOVERY, AND PRESERVATION OF TWO-YEAR
ACTUAL FRAUDULENT TRANSFERS; (3) AVOIDANCE, RECOVERY, AND PRESERVATION OF TWO-YEAR
CONSTRUCTIVE FRAUDULENT TRANSFERS; (4) AVOIDANCE, RECOVERY, AND PRESERVATION OF FOUR-
YEAR ACTUAL FRAUDULENT TRANSFERS; (5) AVOIDANCE, RECOVERY, AND PRESERVATION OF FOUR-YEAR
CONSTRUCTIVE FRAUDULENT TRANSFERS; AND (6) TURNOVER.

ORDER APPROVING THE U.S. TRUSTEE'S APPLICATION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

Certified Copy of ORDER ON TRUSTEE, RICHARD MARSHACK'S OMNIBUS EMERGENCY MOTION FOR: 1)
TURNOVER OF ESTATE PROPERTY AND RECORDED INFORMATION PURSUANT TO 11 U.S.C. § 542; 2)
PRELIMINARY INJUNCTION; 3) LOCK-OUT; 4) RE-DIRECTION OF UNITED STATES PARCEL SERVICES MAIL; 5)
ORDER TO SHOW CAUSE RE COMPLIANCE WITH COURT ORDER; AND 6) OTHER RELIEF AS NECESSARY TO
EFFICIENT ADMINISTRATION OF THIS MATTER

1 TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING INEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                   , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                       ❑ Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) June 2, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST
                                                                                E    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL lstate method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL SERVICE/DELIVERY:
                                                                                ❑ Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the oregoing is true and correct.

 June 2, 2023               Nicolette D. Murphy
 Date                       Printed Name

         This form is mandatory. It has been approved for use by the United States Banks   tc    Ou   or the Central District of Califor

December 2016                                                                                   F 7004-1.SUMMONS.ADV.PROC
      Case 8:23-ap-01046-SC    Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02 Desc
                                 Main Document       Page 4 of 7
IN RE THE LITIGATION PRACTICE GROUP P.C. / RICHARD A. MARSHACK v. TONY DIAB, et al.
                    United States Bankruptcy Court Case No. 8:23-bk-10571-SC
           United States Bankruptcy Court Adversary Proceeding Case No. 8:23-mp-0102


                                           SERVICE LIST


Jake Akers                                        Approvely, Inc.
27 Songbird Lane                                  Attn: Chelsie Cooper, Agent for Service of Process
Aliso Viejo, California 92656-1232                2598 East Sunrise Boulevard, Suite 2104
                                                  Fort Lauderdale, Florida 33304

Authorize.Net, a subsidiary of Visa               B.A.T., Inc. d/b/a Coast Processing
Attn: 1505 Corporation / CT Corporation System,   c/o Tony Diab, Agent for Service of Process
Agent for Service of Process                      20101 SW Cypress Street
330 North Brand Boulevard                         Newport Beach, California 92660
Glendale, California 91203

BankUnited, N.A.                                  William Taylor Carss
7815 NW 148th Street                              6080 Center Drive, 6th Floor
Miami Lakes, Florida 33016                        Los Angeles, California 90045

William Taylor Carss                              Jimmy Chhor
PHOENIX LAW                                       1918 Pepperdale Drive
Post Office Box 749                               Rowland Heights, California 91748-3252
Millville, New Jersey 08332

Lisa Cohen                                        Lisa Cohen
8 Almanzora                                       20101 SW Cypress Street
Newport Beach, California 92657                   Newport Beach, California 92660

Consumer Legal Group, P.C.                        Tony Diab
c/o USACORP Inc., Agent for Service of Process    20101 SW Cypress Street
325 Division Avenue, Suite 201                    Newport Beach, California 92660
Brooklyn, New York 11211

Scott James Eadie                                 Scott James Eadie
SEDEHI LAW                                        5000 Birch Street, Suite 3000
555 Anton Boulevard, Suite 150                    Newport Beach, California 92660-2140
Costa Mesa, California 92626

Scott James Eadie                                 Equipay
GREYSON LAW CENTER, P.C.                          c/o Resident Agents Inc., Agent for Service of Process
440 North Barranca Avenue, Suite 1331             8 The Green, Suite R
Covina, California 91723                          Dover, Delaware 19901




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      Case 8:23-ap-01046-SC         Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02 Desc
                                     Main Document     Page 5 of 7
Nitin Aggarwal, Chief Operating Officer and Head   Mukarram Dhorzjiwala, Senior Manager – Digital
of Fintech & Payments                              Products
EQUIPAY                                            EQUIPAY
c/o Resident Agents Inc., Agent for Service of     c/o Resident Agents Inc., Agent for Service of Process
Process                                            8 The Green, Suite R
8 The Green, Suite R                               Dover, Delaware 19901
Dover, Delaware 19901

Augusto Ruiz-Eldredge, Chief Operating Officer          Vardhman Shah, Co-Head Control & Quality
and Head of Fintech & Payments                          EQUIPAY
EQUIPAY                                                 c/o Resident Agents Inc., Agent for Service of Process
c/o Resident Agents Inc., Agent for Service of          8 The Green, Suite R
Process                                                 Dover, Delaware 19901
8 The Green, Suite R
Dover, Delaware 19901

Fidelity National Information Service, Inc. d/b/a FIS   Greyson Law Center, P.C.
Attn: 1505 Corporation / CT Corporation System,         c/o Scot James Eadie
Agent for Service of Process                            440 North Barranca Avenue, Suite 1331
330 North Brand Boulevard                               Covina, California 91723
Glendale, California 91203

Guardian Processing, LLC                                Dongliang Jiang
Attn: Dongliang Jiang, Agent for Service of Process     19200 Von Karman Avenue, 4-6 Floors
19200 Von Karman Avenue, 4-6 Floors                     Irvine, California 92612
Irvine, California 92612

LGS Holdco, LLC                                         LGS Holdco, LLC
c/o USACORP DE INC., Agent for Service of               c/o The LLC, Agent for Service of Process
Process                                                 11 Broadway, Suite 300
1811 Silverside Road                                    New York, New York 10004
Wilmington, Delaware 19810

Rosa Bianca Loli                                        Daniel March
3374 Alcazar Drive, Apt. A                              LPG / LAW OFFICE OF DANIEL MARCH
Dana Point, California 92629                            17291 Irvine Boulevard, Suite 101
                                                        Tustin, California 92780-2966

Marich Bein, LLC                                        Maverick Bankcard, Inc.
c/o The LLC, Agent for Service of Process               c/o Gary Nye, Agent for Service of Process
99 Wall Street, Suite 2669                              5820 Canoga Avenue, Suite 250
New York, New York 10005                                Woodland Hills, California 91367

Maverick Management, LLC                                Merit Fund, LLC
c/o LegalInc. Corporate Services Inc., Agent for        c/o Mike S Patel, Agent for Service of Process
Service of Process                                      3531 Torrance Boulevard
5830 East Second Street, Suite 8                        Torrance, California 90503
Casper, Wyoming 82609



                                                        2
      Case 8:23-ap-01046-SC        Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02 Desc
                                    Main Document     Page 6 of 7
Oakstone Law Group, P.C.                          Occams Advisory, Inc.
c/o 1505 Corporation / CT Corporation System,     c/o Resident Agents Inc., Agent for Service of Process
Agent for Service of Process                      8 The Green, Suite R
330 North Brand Boulevard                         Dover, Delaware 19901
Glendale, California 91203

Optimum Bank Holdings, Inc. d/b/a Optimum Bank      Phoenix Law Group, P.C.
c/o Mary Franco, Agent for Service of Process       c/o 1505 Corporation / CSC, Agent for Service of
2929 East Commercial Boulevard, Suite 101           Process
Fort Lauderdale, Florida 33308                      2710 Gateway Oaks Drive
                                                    Sacramento, California 95833

Phoenix Law Group, P.C.                             Prime Logix, LLC
6080 Center Drive, 6th Floor                        c/o Cloud Peak Law, LLC, Agent for Service of
Los Angeles, California 90045                       Process
                                                    1095 Sugar View Drive, Suite 500
                                                    Sheridan, Wyoming 82801

Prime Logix, LLC                                    Revolv3, Inc.
c/o Rosa Bianca Loli                                c/o United States Corporation Agents, Inc., Agent for
3374 Alcazar Drive, Apt. A                          Service of Process
Dana Point, California 92629                        101 North Brand Boulevard, 11th Floor
                                                    Glendale, California 91203

Revolv3, Inc.                                       Eng Taing
c/o United States Corporation Agents, Inc., Agent   1781 La Plaza Drive
for Service of Process                              San Marcos, California 92078
651 North Broad Street, Suite 201
Middletown, Delaware 19709

Eng Taing                                           Maria Eeya Tan
6080 Center Drive, 6th Floor                        6080 Center Drive, 6th Floor
Los Angeles, California 90045                       Los Angeles, California 90045

Teracel Blockchain Fund II, LLC                     Teracel Blockchain Fund, LLC
c/o Harvard Business Services, Inc., Agent for      c/o Northwest Registered Agent Service, Inc., Agent
Service of Process                                  for Service of Process
16192 Coastal Highway                               8 The Green, Suite B
Lewes, Delaware 19958                               Dover, Delaware 19901

Wes Thomas                                          Han Trinh
2030 Main Street, Suite 1300                        11432 Woodbury Road
Irvine California 92614                             Garden Grove, California 92843-3540

Jayde Trinh                                         Vulcan Consulting Group, LLC
2128 West Cherry Drive                              c/o Lisa Cohen, Agent for Service of Process
Orange California 92868-1927                        8 Almanzora
                                                    Newport Coast, California 92657



                                                    3
      Case 8:23-ap-01046-SC        Doc 43 Filed 06/09/23 Entered 06/09/23 16:19:02            Desc
                                     Main Document    Page 7 of 7
Vulcan Consulting Group, LLC                      Bank of America, N.A.
c/o Lisa Cohen, Agent for Service of Process      800 Samoset Drive
20101 SW Cypress Street                           Newark, Delaware 19713
Newport Beach, California 92660

WorldPay Global Capital, LLC                          WorldPay Group
Business Filings Incorporated, Agent for Service of   1505 Corporation / CT Corporation System, Agent for
Process                                               Service of Process
187 Wolf Road, Suite 101                              330 North Brand Boulevard
Albany, New York 12205                                Glendale, California 91203

WorldPay, Inc.                                        Formgrid, Inc., d/b/a Airtable
1505 Corporation / CT Corporation System, Agent       c/o Corporation Service Company, Agent for Service
for Service of Process                                of Process
330 North Brand Boulevard                             80 State Street
Glendale, California 91203                            Albany, New York 12207-2543

Gallant Law Group, PC                                 Google
123 South Broad Street, Suite 1640                    c/o Corporation Service Company, Agent for Service
Philadelphia, Pennsylvania 19109                      of Process
                                                      2710 Gateway Oaks Drive, Suite 150N
                                                      Sacramento, CA 95833

Microsoft                                             Netsuite, a Subsidiary of Oracle
CSC - Lawyers Incorporating Service, Agent for        1505 Corporation / CSC - Lawyers Incorporating
Service of Process                                    Service, Agent for Service of Process
2710 Gateway Oaks Drive, Suite 150N                   2710 Gateway Oaks Drive, Suite 150N
Sacramento, California 95833                          Sacramento, California 95833-3502

Quickbooks
Intuit Inc.
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